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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :      Case No:
                                              :
               v.                             :
                                              :      VIOLATIONS:
                                              :
TUCKER WESTON, and                            :      18 U.S.C. § 111(a)(1)
JESSE WATSON,                                 :      (Assaulting, resisting, or impeding certain
                                              :      officers)
                                              :
                                              :      18 U.S.C. § 231(a)(3)
                                              :      (Civil disorder)
                                              :
                                              :      18 U.S.C. §§ 1752(a)(1) and 2
                                              :      (Restricted building or grounds)
                                              :
               Defendants.                    :      40 U.S.C. §§ 5104(e)(2)(D) and (G)
                                              :      (Violent entry or disorderly conduct)
                                              :

                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR AN ARREST WARRANT

       I, Anne Borgertpoepping, being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND BACKGROUND

       1.      I make this affidavit in support of an application for arrest warrants for TUCKER

WESTON and JESSE WATSON.

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), assigned to

the Seattle Field Office. I am assigned to the Joint Terrorism Task Force that investigates domestic

and international terrorism acts. Currently, I am tasked with investigating criminal activity in and

around the United States Capitol grounds that occurred on January 6, 2021. As a Special Agent, I

am authorized by law or by a Government agency to engage in or supervise the prevention,

detention, investigation, or prosecution of violations of Federal criminal laws.
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       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification were allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.



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       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                      PROBABLE CAUSE

       10.     JESSE WATSON, (“WATSON”) is a 33-year-old resident of the state of

Washington.     According to records associated with his Washington State driver’s license,

WATSON is 6’1”, weighs 190 pounds and lives at an address in Lynnwood, Washington (the

“Lynnwood Address”). As a part of this investigation, I have reviewed the image of WATSON

associated with his November 2019 Washington State driver’s license, which depicts WATSON.

I have also observed WATSON leaving the Lynnwood Address on multiple occasions.



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        11.    TUCKER WESTON, (“WESTON”) is a 34-year-old resident of the state of

Washington.     According to records associated with his Washington State driver’s license,

WESTON is 5’8” and also lives at the Lynnwood Address. As a part of this investigation, I have

reviewed the image of WESTON associated with his May 2019 Washington State driver’s license

which depicts WESTON. I have also observed WESTON leaving the Lynnwood Address and

then entering a vehicle registered to WESTON.

        12.    According to United Airlines records, WATSON and WESTON flew from the

Seattle-Tacoma International Airport to the Dulles International Airport departing on January 4,

2021 and arriving on January 5, 2021. According to Alaska Airlines records, WATSON and

WESTON flew from the Baltimore/Washington International Airport to the Seattle-Tacoma

International Airport on January 7, 2021.          I am aware that the Transportation Security

Administration (“TSA”) requires airlines to collect identifying information from individuals to

register for flights including their true name and date of birth and that the TSA requires individuals

to present an identification document that matches this data during a security check prior to a flight.

        13.    Records from ARC The Hotel obtained pursuant to subpoena indicate that

WATSON, along with another unnamed guest, stayed in a room at ARC The Hotel in Washington

D.C. from January 5, 2021 until January 7, 2021. These records indicate that WESTON booked

this hotel room. Accordingly, WESTON is believed to have been the second guest in this hotel

room.

        14.    According to records lawfully obtained from Verizon, a telephone number that ends

in 1391 (the “1391 Number”) is subscribed to “Rob Watson,” with a contact name of JESSE

WATSON. Google records obtained pursuant to legal process also link WATSON to the 1391

Number. A telephone number that ends in 2215 (the “2215 Number”) is subscribed to “Tucker A



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Weston.” United Airlines, Facebook, Lyft and Uber records obtained pursuant to legal process

also link Weston to the 2215 Number.

       15.     I have reviewed still images and videos of individuals who engaged in criminal

violations on January 6, 2021, at and around the U.S. Capitol. As described further below, based

on my comparison of WATSON and WESTON’s known images and descriptions, including my

personal observations of them, and images and videos of the individuals involved in violations

criminal law on January 6, 2021, as well as other information received during this investigation, it

appears that WATSON and WESTON are the individuals described below and committed such

offenses.

       16.     The FBI received a tip regarding the January 6, 2021, attack on the U.S. Capitol

building from an individual referred to herein as the Witness. The Witness identified FBI

Photograph 437-AFO (Assault on Federal Officer), see Image 1, as WESTON. The Witness also

provided WESTON’s employer and his approximate age and location. WESTON, who has a

brown beard, can be seen in Image 1 wearing a red “TRUMP” knit hat with a multi-colored pom-

pom on the top and a grey Carhartt jacket over a lighter grey jacket. In other video and photographs

from January 6, 2021, WESTON can be seen wearing tan pants, dark shoes, and at times, a yellow

and grey scarf and/or a red Trump mask.




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                                             Image 1

       17.     Publicly available video from January 6, 2021, also captured WESTON identifying

himself by name. He can be seen speaking into a handheld radio saying, “That’s affirmative. Jesse,

this is Tucker.” “Jesse” is believed to be a reference to JESSE WATSON.




                                             Image 2

       18.     On January 6, 2021, prior to the attack on the Capitol, various groups and

individuals walked in the streets of Washington, D.C., around and to the area of the Capitol. Media

and other third-parties documented some of these groups’ and individuals’ movements that day.

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which were to take place inside. A crowd of rioters overran the line of officers and dismantled and

removed the barricades and snow fencing. As seen in Image 6, WESTON participated in removing

a metal barricade, which enabled the crowd of rioters to further advance on the Capitol Building.




                                             Image 6

       20.     WESTON can later be seen on restricted grounds on the West Front of the U.S.

Capitol, and as seen in Image 8, WESTON appears to be using his cellular telephone.




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       21.    While on the west front, WESTON stood at the front of a group of rioters, and a

group of officers stood between the crowd and the Capitol building. The rioters were temporarily

stopped at the barricade. A group of the rioters then pulled down the barricade. The group of

rioters, including WESTON, then advanced on the Capitol. As seen in Image 9, shortly after the

barricade was pulled down, WESTON turned toward the crowd of rioters and celebrated before

continuing to approach the Capitol.




                                            Image 9

       22.    On the West Front, WESTON and other rioters engaged in a confrontation with

police officers who were protecting the Capitol. During this confrontation, as seen in Images 10

and 11, WESTON shoved police officers.




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                                            Image 10




                                            Image 11

       23.     In publicly available video from January 6, 2021, WESTON can be seen standing

near the Capitol Building with an individual who, for the reasons described herein, is believed to

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be WATSON. This individual is observed wearing a grey hooded sweatshirt, a bluish-grey gaiter,

a greenish-grey beanie, blue jeans, black gloves and brown shoes. The individual identified herein

as WATSON is consistent in height and build with WATSON based on my observations of him at

the Lynnwood Address and information associated with his Washington State driver’s license.




                                            Image 12

       24.     Publicly available video from January 6, 2021, shows WESTON without

WATSON for large portions of the day. A review of telephone records shows that WATSON,

using the 1391 Number, made multiple attempts to contact WESTON at the 2215 Number between

approximately 1:23 p.m. and 3:34 p.m. on January 6, 2021.


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       25.     At approximately 3:09 p.m., U.S. Capitol CCTV footage depicts WATSON

entering the Capitol through the Senate Wing Door. As he enters, WATSON is holding what

appears to be a cellular telephone in a manner consistent with filming or taking photographs. Once

inside of the Capitol, WATSON turns, and the screen of his cellular telephone is illuminated

consistent with filming a video.




                                            Image 13

       26.     At approximately 3:12 p.m., WATSON entered the Crypt with what appears to be

a cellular telephone in his hand, raised above his head. WATSON then walked toward the center

of the Crypt before walking around the pillars and heading into the center of the Crypt toward a

group of people.




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                                            Image 14

       27.     WATSON then turned and walked towards an individual with a blue banner or flag

with the text “TRUMP” written on it. WATSON interacted with this individual and attempted to

help hang the banner on the pillar. When law enforcement approached the two men, WATSON

placed the banner on a piece of black tape on the pillar before walking away.




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                                          Image 15

       28.    WATSON then walked along the corridor from the Crypt towards the Senate Wing

Door. As WATSON walked towards the Senate Wing Door, he had his cellular telephone raised

above his head in a manner consistent with filming a video. At approximately 3:21 p.m. WATSON

exited the U.S. Capitol through a broken window next to the Senate Wing Door.




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                                            Image 16

       29.     Lawfully-obtained Google records indicate that a particular email address (the

Watson Google Account) is subscribed to JESSE WATSON. This is the same email address that,

as discussed in paragraph 14, is also linked to the 1391 Number. Lawfully-obtained Google

records indicate that the Watson Google Account was connected to Google services and was

present in or around the U.S. Capitol on January 6, 2021, from approximately 2:04 pm until 4:16

pm. Specifically, the Google records show that WATSON was on the east and north sides of the

Capitol Building and inside various locations within the Capitol Building, including the area near

the Senate Wing Door and the central part of the Capitol, which includes the Crypt. This data is

consistent in timing and location with WATSON’s location within the Capitol as seen in the

photographs included in Paragraphs 25 – 28.




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       30.     Google records also indicate that on January 6, 2021 at 7:18am, 7:19am, and

7:43am, the Watson Google Account accessed a “My Maps” map entitled 1/6/20. 2 This map

includes multiple event locations in Washington, D.C., including “Stop the steal 10am,” “march

on congress 11am,” and “Joint session (the count) 1pm.” The “Joint session (the count”) event is

associated with a marker at the U.S. Capitol Building. The Watson Google Account also viewed

numerous areas in Washington, D.C. on January 6, 2021, including maps that included the Capitol

Building.

       31.     At approximately 3:14 p.m., U.S. Capitol CCTV footage depicts WESTON

entering the Capitol through a broken window next to the Senate Wing Door. At this time, rioters

are observed entering and exiting through the Senate Wing Door. While entering, WESTON

paused in the window box and pressed the screen of what appears to be a cellular telephone and

held the device up in a manner consistent with taking photographs and/or videos before entering

the Capitol. As he entered, WESTON continued to hold the cellular telephone in a manner

consistent with filming or taking photographs. Inside of the Capitol, WESTON continued to raise

his cellular telephone and was observed smiling and pressing the screen multiple times, with the

screen blinking after every press. WESTON appears to have been taking “selfie” style

photographs.




       2
               The year 2020 included in this file name is believed to be an error. It is believed,
based on the content of the map, that the map refers to events and locations from January 6, 2021.
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                                          Image 17

       32.    After briefly remaining in the Capitol building, WESTON exited through the

Senate Wing Door.

       33.    According to telephone records, there was a 75 second phone call between the 1391

Number and the 2215 Number beginning at 3:34:53 p.m. U.S. Capitol CCTV footage of the Upper

West Terrace shows WESTON with a cellular telephone up to his ear in a manner consistent with

speaking on a telephone as he walks towards the crowd gathered outside the Senate Wing Door at

3:35:42 p.m. This falls within the time frame of the telephone call between WATSON, using the

1391, and WESTON, using the 2215 Number.




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                                            Image 19

       35.     WATSON and WESTON were later observed nearly an hour later on the Northeast

side of the Capitol building. The individual identified herein as WATSON as seen in Image 20 is

consistent in build with WATSON based on my observations of him at the Lynnwood Address

and appears to be a few inches taller than Weston, which is consistent with their heights as listed

in records associated with their Washington State driver’s licenses.




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                                        Image 20

       36.   Publicly available video also depicts WESTON kicking media equipment near the

Capitol.




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                                             Image 21

                                 CONCLUSIONS OF AFFIANT

        37.     Based on the foregoing, your affiant submits that there is probable cause to believe

that TUCKER WESTON violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly

assault, resist, oppose, impede, intimidate, or interfere with a federal agent while they are engaged

in their official duties.

        38.     Your affiant further submits that there is probable cause to believe that TUCKER

WESTON violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to

commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer

lawfully engaged in the lawful performance of his official duties incident to and during the

commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects

commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federal protected function. For purposes of Section 231 of Title 18, a federally

protected function means any function, operation, or action carried out, under the laws of the

United States, by any department, agency, or instrumentality of the United States or by an officer

or employee thereof. This includes the Joint Session of Congress where the Senate and House

count Electoral College votes.

        39.     Your affiant also submits that there is probable cause to believe that TUCKER

WESTON and JESSE WATSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime

to (1) knowingly enter or remain in any restricted building or grounds without lawful authority to

do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct in, or within such

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions; or attempts or conspires

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to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,

cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service, including the Vice President, is or will be temporarily

visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

       40.     Finally, your affiant also submits there is also probable cause to believe that

TUCKER WESTON and JESSE WATSON violated 40 U.S.C. § 5104(e)(2)(D) and (G), which

makes it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or

engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol

Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress

or either House of Congress, or the orderly conduct in that building of a hearing before, or any

deliberations of, a committee of Congress or either House of Congress; and (G) parade,

demonstrate, or picket in any of the Capitol Buildings.




                                                   ___________________________________
                                                   Anne Borgertpoepping
                                                   Special Agent
                                                   Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 18th day of October 2022.
                                                                         2022.10.18
                                                                         14:48:11 -04'00'
                                                   ___________________________________
                                                   HONORABLE ZIA M. FARUQUI
                                                   UNITED STATES MAGISTRATE JUDGE




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